                     EXHIBIT G




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U.S. OFFICE OF PERSONNEL MANAGEMENT



PAY & LEAVE PAY ADMINISTRATION

Fact Sheet: Within-Grade Increases
Description

Each General Schedule (GS) grade has 10 steps. Within-grade increases (WGIs) or step increases are
periodic increases in a GS employee's rate of basic pay from one step of the grade of his or her
position to the next higher step of that grade.

Earning Within-Grade Increases

Employees who occupy permanent positions earn WGIs upon meeting the following three
requirements established by law:

    • The employee's performance must be at an acceptable level of competence. To meet this
      requirement, an employee's most recent performance rating of record must be at least Level 3
      ("Fully Successful" or equivalent).
    • The employee must have completed the required waiting period for advancement to the next
      higher step.
    • The employee must not have received an "equivalent increase" in pay during the waiting
      period. (See 5 CFR 531.407.)

Permanent Positions

WGIs apply only to GS employees occupying permanent positions. "Permanent position" means a
position filled by an employee whose appointment is not designated as temporary and does not have
a definite time limitation of 1 year or less. "Permanent position" includes a position to which an
employee is promoted on a temporary or term basis for at least 1 year.

Required Waiting Periods

For employees with a scheduled tour of duty, the required waiting periods established by law for
advancement to the next higher step are as follows:

 Advancement from...                      Requires...
step 1 to step 2           52 weeks of creditable service in step 1
step 2 to step 3           52 weeks of creditable service in step 2
step 3 to step 4           52 weeks of creditable service in step 3
step 4 to step 5           104 weeks of creditable service in step 4
step 5 to step 6           104 weeks of creditable service in step 5
step 6 to step 7           104 weeks of creditable service in step 6
step 7 to step 8           156 weeks of creditable service in step 7


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 Advancement from...                   Requires...
step 8 to step 9        156 weeks of creditable service in step 8
step 9 to step 10       156 weeks of creditable service in step 9

References

   • 5 U.S.C. 5335
   • 5 CFR part 531, subpart D
   • Questions and Answers on General Schedule Within-Grade Increases
   • Pay and Leave Page




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